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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


   CUYAHOGA COUNTY, OHIO, et al.,       )                Case No.: 1:17-OP-45004
                                        )
                     Plaintiffs,        )                JUDGE DAN AARON POLSTER
                                        )
               v.                       )
                                        )                CIVIL JURY TRIAL ORDER
   PURDUE PHARMA LP, et al.,            )
                                        )
                     Defendants.        )
   ____________________________________ )
                                        )
   SUMMIT COUNTY, OHIO, et al.,         )                Case No. 1:18-OP-45090
                                        )
                     Plaintiffs,        )                JUDGE DAN AARON POLSTER
                                        )
               v.                       )
                                        )                CIVIL JURY TRIAL ORDER
   PURDUE PHARMA LP, et al.,            )
                                        )
                     Defendants.        )
   ____________________________________ )


          On April 23, 2019, the Court held a closed conference with Track One trial counsel in the

   above-captioned consolidated cases scheduled for trial on October 21, 2019. At present, there

   are 11 claims asserted against approximately 23 Defendant Families1 in the consolidated cases.

   Due to the number of claims and Defendants, the primary purpose of the conference was to

   discuss trial management issues such as the length of the trial, a limitation on the number of

   pretrial motions that may be filed, and jury selection.


   I.     PRETRIAL MOTIONS

          Trial counsel for both sides acknowledged at the April 23rd conference that, in order to

   hold a manageable trial, the number of claims and Defendants must be substantially reduced


          1
           For example, the Purdue Family includes Purdue Pharma, LP, Purdue Pharma, Inc. and The
   Purdue Frederick Company, Inc.
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   before the beginning of trial–via rulings on pretrial motions, settlements, and/or voluntary

   dismissals.

           To conserve the parties’ and the Court’s resources, the Court DIRECTS trial counsel to

   meet, confer, attempt to reach agreement, and email to chambers2 no later than 12:00 p.m. on

   Wednesday, May 15, 2019, a single document proposing reasonable numerical and page limits

   on each type of motion, such as Daubert, summary judgment and in limine. Trial counsel agreed
   that they will file, where possible, consolidated motions, responses and replies–and will take this into

   consideration when proposing numerical and page limits on the various types of motions. If trial

   counsel cannot reach agreement on reasonable limits by that deadline, the Court will impose its

   own.

           The deadline for filing dispositive and Daubert motions is 12:00 p.m. on Friday, June

   28, 2019, and, as will be addressed in Section III.b.4, the deadline for filing motions in limine is

   12:00 p.m. on Wednesday, September 25, 2019.



   II.     FINAL PRETRIAL CONFERENCE

           The Court has scheduled a Final Pretrial Conference in the consolidated cases beginning

   at 12:00 p.m. on Tuesday, October 15, 2019. Pursuant to Local Rule 16.3(e), the parties and

   lead counsel of record must be present and prepared with full authority to discuss all aspects of

   the case, including any pending motions, witness and exhibit lists, scheduling, and settlement.

   Counsel must confer with their clients and with each other regarding their final settlement
   posture no later than two (2) business days before the Final Pretrial Conference.


   III.    TRIAL

           The consolidated cases are scheduled for a Jury Trial beginning at 9:00 a.m. on

   Monday, October 21, 2019, in the courtroom of the Honorable Dan A. Polster, Courtroom 18B

   of the Carl B. Stokes United States District Courthouse, 801 W. Superior Ave., Cleveland, Ohio.


           2
            The chambers’ email address is polster_chambers@ohnd.uscourts.gov.

                                                        2
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          Opening statements and the presentation of evidence will begin at 9:00 a.m. on Monday,

   October 21, 2019, and will conclude with closing arguments and final jury instructions no later

   than 5:30 p.m. on Friday, December 13, 2019, with jury deliberations to follow. When the

   number of parties and claims have been reduced and finally resolved, the Court will determine

   the number of hours to allot each party with which to conduct its direct and cross examinations,

   rebuttal, and sur-rebuttal.3 Counsel are directed to plan their trial strategy accordingly.

          Trial days begin at 9:00 a.m. and continue until approximately 5:30 p.m., unless

   circumstances dictate otherwise, and will include a one (1) hour lunch break and two (2) fifteen

   minute breaks. Counsel shall be present in the courtroom at 8:30 a.m. on trial days in order to

   address matters outside the presence of the jury. All parties are to be present in the courtroom at

   all times when the jury is seated.
          a.      Jury Selection

                  1.      Jury Questionnaire Form

          Approximately (4) four weeks before trial, the Jury Department will email to prospective

   jurors a Jury Questionnaire prepared by trial counsel that prospective jurors can complete online.

   (The Jury Department will also mail hard copies to prospective jurors in the event they either

   have no access to a computer or have difficulty completing the questionnaire online.) The Court

   DIRECTS trial counsel to meet, confer, reach agreement, and email to Special Master Cohen

   no later than 12:00 p.m. on Wednesday, August 28, 2019, a reasonably concise Jury

   Questionnaire. Special Master Cohen will resolve any issues the parties cannot agree on. Trial

   counsel shall take into consideration the questions on the Jury Department’s form questionnaire,

   located at https://www.ohnd.uscourts.gov/sites/ohnd/files/CivilRules_AppendixC.pdf.




          3
            Depending upon the final number of claims and Defendants, the Court may impose time limits
   such that the trial may conclude well before December 13, 2019.

                                                     3
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                   2.      Jury Selection Process and Deliberation

           The Court expects to conduct jury voir dire the week preceding trial–beginning at 9:00

   a.m. on Wednesday, October 16, 2019 and continuing through no later than 5:30 p.m. on

   Friday, October 17, 2019. The Court expects to voir dire approximately 50 prospective jurors

   each day until such time as the parties agree on 12 jurors. Any juror remaining on the panel at

   the conclusion of the trial will participate in deliberations.
           b.      Trial Documents

                   1.      Joint Preliminary Statement

           Trial counsel must meet, confer, and prepare a single Joint Preliminary Statement (not to
   exceed 2 pages, double-spaced) describing the cases in an impartial, easily understood, and

   concise manner for use by the Court at the outset of its voir dire and at the time the jury is

   impaneled. This statement will set the context of the trial for the jury and must be emailed to

   chambers no later than 12:00 p.m. on Wednesday, September 25, 2018.

                   2.      Stipulations of Fact

           Given the length and complexities of the trial, trial counsel acknowledged at the April

   23rd conference the need to work together to prepare written stipulations as to all uncontested

   facts to be presented at trial. Stipulations must be filed with the Court no later than 12:00 p.m.

   on Wednesday, September 25, 2019. A signed copy of the stipulations must be submitted to

   the Court at the Final Pretrial Conference.
                   3.      Voir Dire

           The Court will conduct initial voir dire of the venire and of individual venire members.

   The Court will thereafter allow one counsel for each party to question the venire briefly on issues

   not addressed by the Court. Plaintiffs collectively and Defendants collectively (2 total

   documents) shall file proposed questions for the Court’s voir dire no later than 12:00 p.m. on

   Wednesday, September 25, 2019. The Court will decide which questions to include in its own

   voir dire after which it will email its final voir dire questions to trial counsel.


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                   4.      Motions in Limine

            The Court reiterates its direction to trial counsel to file, where possible, consolidated

   motions in limine, responses, and replies–and to meet, confer, and email to chambers, no later

   than 12:00 p.m. on Wednesday, May 15, 2019, a single document proposing reasonable

   numerical and page limits on in limine motions. Supra, Section I. Again, if the parties cannot

   agree on reasonable limits by this deadline, the Court will impose its own limits.

            As with all other trial documents, the motions in limine must be filed no later than 12:00

   p.m. on Wednesday, September 25, 2019. The deadline for filing responses is 12:00 p.m. on

   Wednesday, October 2, 2019, and the deadline for filing replies is 12:00 p.m. on Monday,

   October 7, 2019.

                   5.      Witness Lists and Exhibit Lists

            Trial counsel shall exchange witness lists and proposed exhibits no later than 12:00

   p.m. on Wednesday, September 11, 2019.

            Trial counsel must file witness lists and exhibit lists must be filed no later than 12:00

   p.m. on Wednesday, September 25, 2018.

            Witness lists must provide a brief description and purpose of each witness.

            Regarding exhibit lists, the Court recognizes that, due to the number of exhibits involved

   in a seven-week trial, the Court’s attached exhibit-list form may not be practical. The Court

   DIRECTS trial counsel to meet, confer, and agree upon an exhibit-list form that includes the

   columns on the attached form (i.e., Exhibit No., Description, I.D., Offered, Obj., Admitted, Not

   Admitted) and email it to chambers for the Court’s review no later than 12:00 p.m. on

   Wednesday, September 4, 2019. Joint exhibits are strongly encouraged. Trial counsel shall

   meet, confer, and agree on a protocol for the marking of exhibits, and mark those exhibits before

   trial.
                           i.      Objections to Witnesses or Exhibits

            Parties should be mindful that the Court has limited time and resources to address a large

   number of objections to exhibits and witnesses. Due to the large number of exhibits and

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   witnesses expected to be produced at trial, counsel must make every effort to resolve objections

   before seeking the Court’s assistance. Only those objections to a proposed witness or exhibit

   that have not been resolved among counsel must be filed no later than 12:00 p.m. on Monday,

   October 7, 2019. Such objections must include a succinct statement setting forth the reasons

   why the proposed witness or exhibit should not be permitted or admitted, as well as citations to

   legal authority.
                             ii.    Continuing Obligation

           Each attorney has a continuing obligation to supplement its client’s witness and exhibit

   lists immediately upon learning of any additional witness or exhibit. Absent a showing of good

   faith, witnesses not included on the witness list or added to the list well before the trial starts

   will not testify at trial, and exhibits not listed on the exhibit list or added to the list well before

   the trial starts will not be introduced at trial. This rule applies to lay and expert witnesses.
                   6.        Trial Briefs

           Trial counsel must file trial briefs no later than no later than 12:00 p.m. on Wednesday,

   September 25, 2018.

           A complete trial brief includes: (a) a statement of the facts; (b) a complete discussion of

   the controlling law together with citations to statutes and case law; and (c) a discussion of any

   evidentiary issues likely to arise at trial.
                   7.        Jury Instructions, Verdict Forms, and Interrogatories

           Counsel must provide jury instructions to the Court only on the issues of law that are the

   subject of the trial. To that end, the Court will email its boilerplate instructions to liaison

   counsel in short order.

           Counsel must exchange proposed jury instructions, verdict forms, and interrogatories no

   later than 12:00 p.m. on Wednesday, September 11, 2019. Counsel must then meet, confer,

   and make diligent efforts to reach agreement on their respective proposals prior to the below

   September 25th filing deadline.



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          Counsel shall file no later than 12:00 p.m. on Wednesday, September 25, 2019, a

   single joint submission of (1) agreed upon instructions, verdict forms, and interrogatories;

   (2) instructions and/or interrogatories proposed by plaintiffs but opposed by defendants; and

   (3) instructions and/or interrogatories proposed by defendants but opposed by plaintiffs. The

   joint submission must be filed as one document, divided by the above-described sections. All

   proposed instructions must be supported by citations to legal authority. Any and all objections to

   proposed jury instructions must be accompanied by a concise statement explaining why the

   Court should not give the instruction and citing legal authority. A mere statement of

   “objection” is not sufficient and will not be considered.
                  8.      Deposition Testimony

          Whenever depositions (videotape or written) are intended to be used as evidence at trial,

   counsel proposing to use such deposition testimony must provide opposing counsel with

   pertinent transcript references no later than 12:00 p.m. on Wednesday, September 11, 2019.

   Counsel must confer with each other in an effort to resolve any objections they may have to

   planned deposition testimony.

          As with objections to witnesses and/or exhibits, the Court has neither the time nor

   resources to address a large number of objections to deposition testimony. Counsel shall file

   only those objections that have been raised and not resolved by counsel no later than 12:00

   p.m. on Wednesday, October 2, 2019. The brief shall contain citations to applicable legal

   authority.

          No later than 12:00 p.m. on Thursday, October 10, 2019, counsel is instructed to

   notify the Courtroom Deputy, in writing, of those deposition transcripts that will be read into the

   record. The parties are responsible for providing transcripts to the Court.

          When videotape depositions will be presented in lieu of live testimony, counsel must file

   a complete written transcript of the videotape deposition prior to its use and follow Local Civil

   Rule 32.1.



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                  9.      Emailing Trial Documents to Chambers

          The following trial documents must, in addition to being filed, be emailed to Chambers in

   both WordPerfect and Word format no later than 12:00 p.m. on Wednesday, September 25,

   2019: the joint preliminary statement, stipulations, proposed voir dire questions, witness lists,

   exhibit lists, and the single joint submission of jury instructions, verdict forms, and

   interrogatories.
          IT IS SO ORDERED.



                                                      /s/ Dan A. Polster May 1, 2019
                                                  Dan Aaron Polster
                                                  United States District Judge




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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


   CUYAHOGA COUNTY, OHIO, et al.,       )       Case No.: 1:17-OP-45004
                                        )
                     Plaintiffs,        )       JUDGE DAN AARON POLSTER
                                        )
               v.                       )       PLAINTIFFS’ TRIAL EXHIBITS
                                        )
   PURDUE PHARMA LP, et al.,            )
                                        )
                     Defendants.        )
   ____________________________________ )
                                        )
   SUMMIT COUNTY, OHIO, et al.,         )       Case No. 1:18 OP 45090
                                        )
                     Plaintiffs,        )       JUDGE DAN AARON POLSTER
                                        )
               v.                       )       PLAINTIFF’S TRIAL EXHIBITS
                                        )
   PURDUE PHARMA LP, et al.,            )
                                        )
                     Defendants.        )
   ____________________________________ )



    EXHIBIT                                                               NOT

      NO.     DESCRIPTION        I.D.   OFFERED      OBJ    ADMITTED      ADMITTED




                                            9
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                                TIMELINE OF TRIAL DEADLINES


   12:00 p.m. on Wednesday, May 15, 2019
          Email to chambers a single document with proposed limitations on number and pages of
          various types of pretrial motions (i.e., Daubert, summary judgment, in limine)
   12:00 p.m. on Friday, June 28, 2019
          Dispositive Motions deadline
          Daubert Motions deadline
   12:00 p.m. on Wednesday, August 28, 2019
          Email to SM Cohen a joint Proposed Jury Questionnaire
   12:00 p.m. on Wednesday, September 4, 2019
          Email to chambers a proposed Exhibit Chart
   12:00 p.m. on Wednesday, September 11, 2019
          Exchange jury instructions, verdict forms, jury interrogatories, exhibits, witness lists, and
          deposition testimony. Meet and confer with goal of resolving differences and filing joint
          jury instructions, verdict forms and jury interrogatories in a single document. Meet and
          confer to resolve objections to witnesses, exhibits, and deposition testimony.
   12:00 p.m. on Wednesday, September 25, 2019
          Email to chambers a Joint Preliminary Statement (no more than 2 pages, double-spaced)
          Deadline to file Stipulations of Fact, Proposed Voir Dire Questions (2 documents),
          Proposed Jury Instructions, Verdict Forms and Jury Interrogatories (1 document),
          Motions in Limine, Trial Briefs, Witness Lists, Exhibit Lists
          Email to chambers trial docs, Section III.b.8, in both WordPerfect and Word formats
   12:00 p.m. on Wednesday, October 2, 2019
          Deadline for filing Opposition briefs to Motions in Limine
          Deadline for filing Objections to deposition testimony
   12:00 p.m. on Monday, October 7, 2019
          Deadline for filing Objections to exhibits, witnesses
          Deadline for filing Replies to Motions in Limine
   12:00 p.m. on Thursday, October 10, 2019
          Notify the Courtroom Deputy, in writing, of deposition transcripts that will be read into
          the record in order that the original transcripts be made available for the Court
   12:00 p.m. on Tuesday, October 15, 2019
          Final Pretrial Conference
          Bring signed Stipulations to chambers
   9:00 a.m. on Wednesday, October 16, 2019
          Begin Jury Selection
   9:00 a.m. on Monday, October 21, 2019
          Trial




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